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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

---------------------------------x
                                    :
In re:                              :                         Chapter 11
                                    :
QUIKSILVER, INC., et al.,           :                         Case No. 15-11880 (BLS)
                                    :
                          Debtors.1 :                         Jointly Administered
                                    :
                                    :
                                                              Related Docket No. ___
---------------------------------x

    ORDER APPROVING STIPULATION MODIFYING AUTOMATIC STAY TO ALLOW
    FOR ADVANCEMENT/PAYMENT OF COSTS AND FEES UNDER DIRECTORS AND
                       OFFICERS INSURANCE POLICY

                  Upon the motion (the “Motion”)2 of the Debtors pursuant to Bankruptcy Code

section 362, Bankruptcy Rule 4001, and Local Rule 4001-1 for entry of an order approving the

Stipulation Allowing for Advancement/Payment of Coss and Fees Under Directors and Officers

Insurance Policy (the “Stipulation”), attached hereto as Exhibit 1, which consensually modifies

the automatic stay in order to allow the Insured Persons to enforce their rights and/or receive

proceeds, costs, and fees payable under the Insurance Policy; and the Court having determined

that the relief requested in the Motion is in the best interests of the Debtors, their estate, their

creditors, and other parties in interest; and due and sufficient notice of the Motion having been

given under the particular circumstances; and it appearing that no other or further notice need be

provided; and after due deliberation thereon; and good and sufficient cause appearing therefor, it

is hereby


1
     The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
     Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc.
     (8945), Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505),
     Quiksilver Entertainment, Inc. (9667), Quiksilver Wetsuits, Inc. (9599). The address of the Debtors' corporate
     headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.
2
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
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               ORDERED, ADJUDGED AND DECREED that:

               1.      The Motion is hereby GRANTED, as set forth herein.

               2.      The Stipulation is hereby APPROVED.

               3.      The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this order.

               4.      The Court shall retain jurisdiction to hear and determine all matters arising

from the implementation of this Order.

Dated: Wilmington, Delaware
       ________________, 2015




                                              HONORABLE BRENDAN L. SHANNON
                                              CHIEF UNITED STATES BANKRUPTCY JUDGE




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                                       EXHIBIT 1

                                       Stipulation




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

---------------------------------x
                                    :
In re:                              :                       Chapter 11
                                    :
QUIKSILVER, INC., et al.,           :                       Case No. 15-11880 (BLS)
                                    :
                          Debtors.1 :                       Jointly Administered
                                    :
---------------------------------x

        STIPULATION MODIFYING AUTOMATIC STAY TO ALLOW FOR
    ADVANCEMENT/PAYMENT OF COSTS AND FEES UNDER DIRECTORS AND
                     OFFICERS INSURANCE POLICY

               Quiksilver, Inc. (“ZQK”) and certain of its affiliates, the debtors and debtors in

possession in the above-captioned cases (collectively, the “Debtors” and, together with their non-

Debtor affiliates, “Quiksilver” or the “Company”), and Andrew P. Mooney, Richard Shields,

William M. Barnum, Jr., Bernd E. Beetz, Joseph F. Berardino, Michael A. Clarke, Elizabeth

Dolan, M. Steven Langman, Robert B. McKnight, Jr., and Andrew W. Sweet (collectively, the

“Insured Persons”, and together with the Debtors, the “Parties”), respectfully submit this

proposed stipulation (“Stipulation”) to modify the automatic stay to allow for

advancement/payment of costs and fees under the directors and officers insurance policy.

               Based on the facts below, the Parties stipulate and agree, to the extent provided

below, that the Insured Persons shall be permitted to enforce their rights and/or receive

advancement/payment of costs and fees payable under the insurance policy regarding directors



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       The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
       Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra,
       Inc. (8945), Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc.
       (0505), Quiksilver Entertainment, Inc. (9667), Quiksilver Wetsuits, Inc. (9599). The address of the
       Debtors' corporate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.
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and officers (the “Insurance Policy”) issued by ACE Insurance Company and its affiliates (the

“Insurer”).

                                           RECITALS

               WHEREAS, on September 9, 2015 (the “Petition Date”), the Debtors each

commenced a case by filing a petition for relief under chapter 11 of the Bankruptcy Code

(collectively, the “Chapter 11 Cases”) with the United States Bankruptcy Court for the District of

Delaware (the “Bankruptcy Court”). Since the Petition Date, the Debtors have operated their

businesses as debtors and debtors-in-possession pursuant to Bankruptcy Code sections 1107(a)

and 1108.

               WHEREAS, on April 2, 2015 and April 16, 2015, some or all of the Insured

Persons were named as defendants in putative class-action lawsuits captioned Stevens v.

Quiksilver, Inc. et. al., Case No. CV15-00516-JVS-JCG and Stein v. Quiksilver, Inc. et al., Case

No. CV15-02810-JVS-JCG (the “Pending Federal Actions”). The Pending Federal Actions are

currently pending in the United States District Court for the Central District of California. An

order consolidating the Pending Federal Actions was entered on June 26, 2015. On August 25,

2015, some or all of the Insured Persons were named as defendants in the amended class action

consolidated complaint captioned Stevens v. Quiksilver, Inc. et al., Case No. CV15-00516-JVS-

JCG. On September 21, 2015, the Order Staying Action Pending Bankruptcy Proceedings,

Removing Action From Active Caseload And Directing The Parties To File Status Reports was

entered.

               WHEREAS, on June 2, 2015, some or all of the Insured Persons were named as

defendants in a shareholder derivative action captioned Vu v. Mooney et al, Case No. 30-2015-

00790891-CU-BT-CJC (together with the Pending Federal Actions, the “Pending Actions”).



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This case is currently pending in the Superior Court of California, County of Orange. On

September 14, 2015, a Minute Order was entered, ordering the case suspended due to the Notice

of Stay of Proceedings Re: Bankruptcy. A Review Hearing re: Bankruptcy Status is scheduled

for January 12, 2016.

               WHEREAS, prior to the commencement of the Pending Actions, the Debtors

purchased the Insurance Policy for the benefit of the Insured Persons.

               WHEREAS, in accordance with the Insurance Policy, the Debtors, on behalf of

themselves and the Insured Persons, provided notice of the Pending Actions to the Insurer and

sought coverage for the Pending Actions under the Insurance Policy to advance defense costs

and fees they have incurred and are continuing to incur in the defense of the Pending Actions.

               WHEREAS, the Insurer has agreed to advance the Insured Persons’ defense costs

and fees incurred in connection with the Pending Actions, subject to its reservation of rights.

               WHEREAS, the Insurance Policy includes a Presumptive Indemnification clause

as section XI., which provides that the Company agrees to indemnify the Insured Persons to the

fullest extent permitted by law.

               WHEREAS, the Insurance Policy further provides that the Company’s

indemnification obligations under section XI shall not apply in the event the Company becomes

a debtor-in-possession, as has occurred here.

               WHEREAS, to the extent the automatic stay imposed under section 362(a) of the

Bankruptcy Code applies, the Parties enter into this Stipulation to lift the Automatic Stay to

permit the Insured Persons to enforce their rights and/or receive advancement/payment of costs

and fees payable under the Insurance Policy.




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               NOW THEREFORE, based on the foregoing, it is hereby Stipulated and Agreed

to by and between the Parties, subject to the Bankruptcy Court’s approval, as follows:

                                         STIPULATION

               1.      To the extent applicable, the automatic stay imposed under section 362(a)

of the Bankruptcy Code is lifted and modified to permit the Insured Persons to enforce their

rights and/or receive advancement/payment of costs and fees payable under the Insurance Policy.

               2.      The Approved Payments shall reduce the Limits of Liability of the Policy

and shall not be considered a violation of the automatic stay, nor shall they be considered

property of the Debtors’ estate.

               3.      Nothing in this Stipulation shall modify the terms and conditions of the

Insurance Policy or the Insurer’s reservation of rights.

               4.      Nothing in this Stipulation shall preclude any Insured Person from, at any

time, by motion or further stipulation, seeking further access to other insurance policies nor shall

the Debtors be precluded from opposing such request.

               5.      This Stipulation, and any disputes that may arise out of this Stipulation,

shall be subject to the jurisdiction of the Bankruptcy Court.

               6.      This Stipulation shall be interpreted in accordance with the laws of

Delaware, without regard to any conflicts of laws principles.



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                 7.         This Stipulation may be executed in any number of counterparts and by

facsimile or electronic transmission, each of which shall be an original, with the same effect as if

the signatures hereto were upon the same document.


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